  Case 25-40100      Doc 67    Filed 04/15/25 Entered 04/15/25 15:44:49        Desc Main
                                 Document     Page 1 of 2




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
IN RE                              §
                                   §
The Benk Group LLC                 §     Case No. 25-40100
1960 Tapadero Lane                 §
Celina, TX 75009                   §     Chapter 11
                                   §
Debtor                             §

          AGREED ORDER GRANTING MOTION TO DISMISS (DOCKET #59)

       Came on for consideration the United States Trustee’s (“U.S. Trustee”) Motion to

Dismiss (“Motion”)(Docket #59) filed in the above-numbered and captioned bankruptcy case

(“Case”). The Court finds that the Motion was properly served. No Objections have been filed.

However, the Texas Comptroller (Docket #60) and PNC Bank (Docket #61) have filed Joinders

in support of the Motion. This Order therefore represents an “Agreement” between the Debtor,

the U.S. Trustee, Texas Comptroller and PNC Bank (Collectively, the “Parties”). The Court

approves the Agreement between the Parties. Accordingly, it is hereby:

       ORDERED that the Motion is GRANTED. It is further

       ORDERED that this Case is DISMISSED.

       SO ORDERED AND ADJUDGED.

                                                     Signed on 04/15/2025

                                                                                   SD
                                           HONORABLE BRENDA
                                           HONORABLE  BRENDA T.
                                                             T. RHOADES,
                                                                RHOADES,
                                           UNITED STATES
                                           UNITED STATES BANKRUPTCY
                                                         BANKRUPTCY JUDGE
                                                                     JUDGE
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                                  Document     Page 2 of 2



AGREED IN FORM AND SUBSTANCE:

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By: _/s/ John Vardeman for Christopher Murphy w/permission TBN 20496260__

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